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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                 :
SHAO XIONG JIAN,
                                                                 :
                                      Plaintiff,                 :   16-CV-5556 (OTW)
                                                                 :
                     -against-                                   :   OPINION AND ORDER
                                                                 :
SAIGON BAR & GRILL, et al.,                                      :
                                                                 :
                                      Defendants.                :
                                                                 :
-------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         Plaintiff brings this action in accordance with the Fair Labor Standards Act (“FLSA”) and

New York Labor Law (“NYLL”), for allegedly unpaid overtime premium pay and for Defendants’

alleged failure to provide certain notices required by the NYLL. Following a successful

mediation before the Court-annexed Mediation Program, the parties submitted their

settlement agreement to this Court for approval under Cheeks v. Freeport Pancake House, Inc.,

796 F.3d 199 (2d Cir. 2015). (See ECF 84). All parties have consented to my exercising plenary

jurisdiction in accordance with 28 U.S.C. § 636(c). (ECF 80). For the reasons set forth below, the

Court approves the agreement as fair and reasonable.

I.       Background

         Plaintiff alleges that he worked as a cook in Defendants’ restaurant from November

2010 until December 22, 2013, and again from November 24, 2014 until June 25, 2016. Plaintiff

alleges that from November 24, 2014 through June 25, 2016, he worked, on average, fifty-one

and one-half hours per week, but that Defendants paid him a fixed daily rate of $130,

regardless of the number of hours worked.
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       Defendants deny Plaintiff’s allegations. They assert that they would call witnesses and

present objective, documentary evidence at trial that would show that Plaintiff did not work as

many hours as he claims.

       Plaintiff alleges that he is owed $26,870.71 for his FLSA claims, his unpaid wages, and

overtime premiums. The parties have agreed to resolve the matter for $15,000, inclusive of

attorneys’ fees and costs, as set forth in the settlement agreement. Plaintiff would receive

$9,460 and Plaintiff’s counsel would receive $5,540 in fees, representing one-third of the

settlement amount and $810 in costs, in accordance with Plaintiff’s professional services-

contingency fee agreement with his counsel.

       The parties reached their proposed settlement during a mediation session held on

January 29, 2018, which was attended by their parties and their counsel. The parties then

submitted a joint letter seeking approval of their settlement agreement, explaining in detail the

parties’ positions, with a description of the method used to calculate the settlement amounts

and an explanation of the hours Plaintiff worked and the wage at which he worked them. (ECF

84).

II.    Discussion

       Fed. R. Civ. P. 41(a)(1)(A) permits the voluntary dismissal of an action brought in federal

court, but subjects that grant of permission to the limitations imposed by “any applicable

federal statute.” The United States Court of Appeals for the Second Circuit has held that, “in

light of the unique policy considerations underlying the FLSA,” this statute falls within that

exception, and that “stipulated dismissals settling FLSA claims with prejudice require the

approval of the district court or the [Department of Labor] to take effect.” Cheeks, 796 F.3d at


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206. This Court will approve such a settlement if it finds it to be fair and reasonable, employing

the five non-exhaustive factors enumerated in Wolinsky v. Scholastic Inc.:

       (1) the plaintiff’s range of possible recovery; (2) the extent to which the settlement will
       enable the parties to avoid anticipated burdens and expenses in establishing their
       respective claims and defenses; (3) the seriousness of the litigation risks faced by the
       parties; (4) whether the settlement agreement is the product of arm's-length bargaining
       between experienced counsel; and (5) the possibility of fraud or collusion.
900 F. Supp. 2d 332, 335 (S.D.N.Y. 2012) (internal quotations omitted). In this case, each of

those factors favor approval of the settlement.

           a. Range of Recovery

       First, the settlement awards Plaintiff with approximately 35% of Plaintiff’s asserted

unpaid wages calculation. Given the risks of litigation, as discussed in more detail below, the

settlement amount is reasonable.

           b. Burden and Expense of Trial

       Second, the settlement enables the parties to avoid the burden and expense of

presenting their credibility-dependent case to a factfinder and being subject to cross-

examination at trial. The parties dispute the number of hours worked by Plaintiff and dispute

whether or not the proper legal notices were given to Plaintiff. Because the parties dispute the

validity of the records of Plaintiff’s hours, the parties would have to rely on their own

recollections and the recollections of others to prove how many hours Plaintiff worked. See

Yunda v. SAFI-G, Inc., 15-CV-8861, 2017 WL 1608898, at *3 (S.D.N.Y. Apr. 28, 2017).

           c. Litigation Risk

       Third, the settlement will enable the Plaintiff to avoid the risks of litigation. Plaintiff

faces the risk that a factfinder may credit Defendants’ witnesses’ testimony that Plaintiff did

not work as many hours as he claims. Thus, whether and how much he would recover at trial is

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uncertain. See McMahon v Olivier Cheng Catering and Events, LLC, 08-CV-8713, 2010 WL

2399328, at *5 (S.D.N.Y. Mar. 3, 2010).

           d. Arm’s-Length Negotiation

       Fourth, this settlement was reached after participation in the Court-annexed Mediation

Program, during a mediation before the Court-appointed mediator, and therefore, the

settlement is the product of arm’s-length bargaining between experienced counsel.

           e. Risk of Fraud or Collusion

       Fifth, there is nothing in this record to suggest that the settlement was the product of

fraud or collusion. The fact that it was reached after a mediation before a Court-appointed

mediator reinforces the settlement’s legitimacy. See Gonzales v 27 W.H. Bake, LLC, 15-CV-4161,

2018 WL 1918623, at *3 (S.D.N.Y. Apr. 20, 2018); Khait v. Whirlpool Corp., 06-CV-6381, 2009 WL

6490085, at *1 (E.D.N.Y. Oct. 1, 2009).

       Additional features of the settlement favor approval. The release is limited to claims

based on Plaintiff’s employment up to the date the agreement was signed, and is not

overbroad. See Caprile v. Harabel Inc., 14-CV-6386, 2015 WL 5581568, at *2 (S.D.N.Y. Sept. 16,

2015). The attorneys’ fee award of one-third of the settlement sum is reasonable and in

keeping with typical FLSA settlements in this district. See Rodriguez-Hernandez v. K Bread & Co.,

15-CV-6848, 2017 WL 2266874, at *5 (S.D.N.Y. May 23, 2017) (“In this Circuit, courts typically

approve attorneys' fees that range between 30 and 33 1/3 %.”)

       Finally, this agreement also lacks certain objectionable provisions that have doomed

other proposed FLSA settlements. For instance, it contains no confidentiality provision, which

would contravene the purposes of the FLSA—indeed, the document has already been publicly


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 filed, and it does not include a restrictive non-disparagement provision. See Martinez v.

 Gulluoglu LLC, 15-CV-2727, 2016 WL 206474, at *1 (S.D.N.Y. Jan. 15, 2016); Lazaro-Garcia v.

 Sengupta Food Servs., 15-CV-4259, 2015 WL 9162701, at *3 (S.D.N.Y. Dec. 15, 2015).

III.    Conclusion

        For the foregoing reasons, the Court approves the parties’ proposed settlement

 agreement as fair and reasonable.

        IT IS HEREBY ORDERED THAT this action is dismissed with prejudice and without costs

 provided, however, that the Court retains jurisdiction pursuant to the terms of the settlement

 agreement. Any pending motions are to be terminated as moot and all conferences are

 cancelled.


        SO ORDERED.



                                                            s/ Ona T. Wang
 Dated: October 10, 2018                                               Ona T. Wang
        New York, New York                                    United States Magistrate Judge




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